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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  HUNTER KILLER                 )              CV 19-00168 LEK-KJM
  PRODUCTIONS, INC., TBV        )
  PRODUCTIONS, LLC, VENICE PI,  )
  LLC, BODYGUARD                )              ORDER ADOPTING
  PRODUCTIONS, INC., LHF        )              MAGISTRATE JUDGE’S
  PRODUCTIONS, INC. ,           )              FINDINGS AND
                                )              RECOMMENDATION
            Plaintiffs,         )
                                )
       vs.                      )
                                )
  QAZI MUHAMMAD ZARLISH,        )
  PEBBLEBRIDGE                  )
  TECHNOLOGIES, LLP,            )
  VISHNUDATH REDDY              )
  MANGILPUDI, HOAN PHAM,        )
  NGHI PHAN NHAT, DOES 1-10 , )
                                )
            Defendants.         )
  _____________________________ )

                    ORDER ADOPTING MAGISTRATE JUDGE’S
                      FINDINGS AND RECOMMENDATION

           Findings and Recommendation having been filed on June 15, 2020 and

  served on all parties on June 16, 2020, and no objections having been filed by any

  party,

           IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

  United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the "Findings and

  Recommendation to Grant in Part and Deny in Part Plaintiffs’ Motion for Default

  Judgment Against Defendant Nghi Phan Nhat" , ECF No. 56, are adopted as the
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  opinion and order of this Court.

        IT IS SO ORDERED.

        DATED AT HONOLULU, HAWAII, July 14, 2020.



                                     /s/ Leslie E. Kobayashi
                                     Leslie E. Kobayashi
                                     United States District Judge




  HUNTER KILLER PRODUCTIONS, INC., ET AL. VS. QAZI MUHAMMAD ZARLISH,
  ET AL; CV 19-00168 LEK-KJM; ORDER ADOPTING MAGISTRATE JUDGE’S
  FINDINGS AND RECOMMENDATION
